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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
LIDIA DLABOHA,

                                   Plaintiff,                     Docket No.:

            -against-                                             NOTICE OF REMOVAL

COSTCO WHOLESALE CORPORATION,

                                    Defendant.
--------------------------------------------------------------X

TO THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK:

            Defendant, Costco Wholesale Corporation (hereinafter “Costco”), for the removal of this

action from the Supreme Court of the State of New York, County of Queens, to the United States

District Court for the Eastern District of New York, respectfully show this Honorable Court:

            FIRST: Costco is a defendant in a civil action brought against it in the Supreme Court of

the State of New York, County of Queens, entitled:

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS

--------------------------------------------------------------X
LIDIA DLABOHA,

                                   Plaintiff,                     Index No.: 714521/2022

            -against-

COSTCO WHOLESALE CORPORATION,

                                    Defendant.
--------------------------------------------------------------X

            SECOND: Copies of the Summons and Verified Complaint in this action are annexed

hereto as Exhibit “A.” A copy of Costco’s Verified Answer is annexed hereto as Exhibit “B.”

A copy of plaintiff’s Verified Bill of Particulars, dated August 18, 2022, is annexed hereto as



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Exhibit “C.” These exhibits constitute all pleadings served upon any party in this action. No

Court Order has been issued.

            THIRD: Plaintiff’s Verified Bill of Particulars and Response to Combined Demands were

received on August 24, 2022. Less than thirty (30) days have passed since receipt of the Verified

Bill of Particulars.

            FOURTH: Plaintiff has alleged that due to Costco’s negligence, she has suffered various

personal injuries, including tears of the lateral and medial meniscus of the left knee, a tear or

rupture of the left shoulder rotator cuff, lumbar disc displacement, and radiculopathy. See Exhibit

C, ¶ 9.       Accordingly, it is clear that the amount of controversy in this matter exceeds $75,000,

exclusive of interests and costs.

            FIFTH: This action is one over which this Court has original jurisdiction under the

provisions of Title 28, United States Code, Section 1332, and is one which may be removed to this

Court by Costco, pursuant to the provisions of Title 28 United States Code, Section 1441, in that:

it is a civil action brought in a Supreme Court of the State of New York, by a citizen of the state

of New York, against a foreign corporation whose principal place of business is outside of the

State of New York; and the amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

            WHEREFORE, the defendant, Costco Wholesale Corporation, prays that the above action

now pending against it in the Supreme Court of the State of New York, County of Queens, be

removed from there to this Court.




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Dated: New York, New York
       September 16, 2022

                                               CONNELL FOLEY LLP


                                               _______________________________
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